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   From:             Corl, Christina
   To:               "Eric Rosenberg"; Tracy Turner
   Subject:          RE: Question about Friday"s conference with the court
   Date:             Monday, April 30, 2018 7:44:54 AM


  Yes. 
   
  Thank you for the follow up.
   
  As we discussed, however, it is unlikely that we be able to resolve any of our discovery issues at the
  discovery conference.  Motion practice will be necessary.
   




   

   
      Christina L. Corl
      Plunkett Cooney
      Attorneys & Counselors at Law
      T 614.629.3018    C 614.309.9212
      bio | office | vcard | web
   
  From: Eric Rosenberg [mailto:ericrosenb@gmail.com]
  Sent: Sunday, April 29, 2018 6:52 AM
  To: Corl, Christina; Tracy Turner
  Subject: Question about Friday's conference with the court


  Christina:
   
  If we have not ironed out a mutually agreeable
  settlement framework by Wednesday, do I have your
  permission to send the  Magistrate the letters we
  exchanged setting forth our discovery disputes?  I ask
  because I believe the letters are the best way to bring
  the Magistrate up to speed on our disputes.
   
  Best.  Eric.

  Eric Rosenberg, Esq.
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